Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 1 of 27

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
JAYLON JOHNSON §
Plaintiff, §
§
v. § CIVIL ACTION NO.
§ (JURY TRIAL)
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT §
Defendants. §

 

DEFENDANT WAGNER’S CARNIVAL’S EXHIBIT 1:

INDEX TO NOTICE OF REMOVAL

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT:

Defendant Wagner’s Carnival (Hereinafter “Defendant”) files this Index to Notice of

Removal, containing the following documents, including materials Jaylon Johnson v. Gilbert

Herrera, Wagner’s Cammival, Almeda Mall, Anthony Schimidt Cause No. 2022-80871; In the 157"

Judicial District Court of Harris County, Texas:

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Exhibit 1: Index of State Court Documents;
Exhibit 2:

The state court’s Docket Sheet;

Request for Issuance of Service — Wagner’s Carnival;

Domestic Return Receipt — Wagner’s Carnival;

Plaintiff's Original Petition and Jury Demand;

Defendant Wagner’s Carnival’s Original Answer and Jury Demand;
All Orders and Notice filed to State Court.

Exhibit 3: List of All Parties;
Exhibit 4; List of Attorneys;
Exhibit 5: Jury Trial Request;
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 2 of 27

e Exhibit 6: State Court’s Name and Address;
e Exhibit 7: Corporate Disclosures

Respectfully submitted,

THOMPSON, COE, COUSINS & IRONS,
L.L.P.

By:_/s/ Stephanie M. Krueger
STEPHANIE M. KRUEGER
State Bar No. 24078581
SKrueger@thompsoncoe.com
Essay EDEN
State Bar No. 24120248
EEden@thompsoncoe.com
One Riverway, Suite 1400
Houston, Texas 77056
(713) 403-8210; Fax: (713) 403-8299
E-serve: skrueger@thompsoncoe.com

ATTORNEYS FOR DEFENDANT WAGNER’S .
CARNIVAL
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 3 of 27

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on February 17, 2023, a true and correct copy of the foregoing
instrument was delivered to all known counsel of record in accordance with the Federal Rules of
Crvil Procedure.

/s/ Stephanie M. Krueger
STEPHANIE M. KRUEGER
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 4 of 27

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

 

HOUSTON DIVISION
JAYLON JOHNSON §
Plaintiff, §
§
v. § CIVIL ACTION NO.
§ (JURY TRIAL)
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT §
Defendants. §
DEFENDANTS? EXHIBIT 2:
LIST OF ALL PARTIES
® Exhibit 2:

o The state court’s Docket Sheet;

oO

Request for Issuance of Service — Wagner’s Carnival;

o Domestic Return Receipt — Wagner’s Carnival;

© Plaintiff's Original Petition and Jury Demand;

o Defendant Wagner’s Carnival’s Original Answer and Jury Demand;
o All Orders and Notice filed to State Court.
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 5 of 27
Office of Harris County District Clerk - Marilyn Burgess

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SUMMARY

CASE DETAILS
File Date

Case (Cause) Location
Case (Cause) Status
Case (Cause) Type
Next/Last Setting Date
Jury Fee Paid Date

Page 1 of 1
JAYLON JOHNSON vs. HERRERA, GILBERT 2/16/2023
Cause: 202280871 CDI: 7 Court: 157
CURRENT PRESIDING JUDGE
12/13/2022 Court 1574
Address 201 CAROLINE (Floor: 11)
Active - Civil HOUSTON, TX 77002
Phone:8329272400
OTHER CIVIL JudgeName TANYA GARRISON
N/A Court Type Civil
2/16/2023

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Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 6 of 27
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HCDistrictclerk.com JAYLON JOHNSON vs. HERRERA, GILBERT 2/16/2023
Cause: 202280871 CDI: 7 Court: 157

ACTIVE PARTIES
Name Type Post Attorney
Jdgm

JAYLON JOHNSON PLAINTIFF - CIVIL LEWIS, UA

HERRERA, GILBERT DEFENDANT - CIVIL

WAGNERS CARNIVAL DEFENDANT - CIVIL KRUEGER,
STEPHANIE
MARION

ALMEDA MALL DEFENDANT - CIVIL

SCHIMIDT, ANTHONY DEFENDANT - CIVIL

WAGNERS CARNIVAL MAY BE SERVED BY REGISTERED AGENT

SERVING ITS REGISTERED AGENT

INACTIVE PARTIES
No inactive parties found.

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Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 7 of 27
Office of Harris County District Clerk - Marilyn Burgess Page 1 of 1

Style
Case Number
File Court

Date
NA

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12/13/2022
2/13/2023

Chronological Case History

JAYLON JOHNSON vs. HERRERA, GILBERT

202280871
157

Type

SERVICE
SERVICE
SERVICE
SERVICE

DOCUMENT
DOCUMENT

Case Status Active - Civil Case Type OTHER CIVIL
File Date 12/13/2022 Next Setting NIA
Description

PERSON SERVED: HERRERA, GILBERT SERVICE TYPE: CITATION (CERTIFIED)
PERSON SERVED: ALMEDA MALL SERVICE TYPE: CITATION (CERTIFIED)
PERSON SERVED: SCHIMIDT, ANTHONY SERVICE TYPE: CITATION (CERTIFIED)

PERSON SERVED; WAGNERS CARNIVAL MAY BE SERVED BY SERVING ITS REGISTERED AGENTIASON G
WAGNER SERVICE TYPE: CITATION (CERTIFIED)

ORIGINAL PETITION COURT: 157 ATTORNEY: LEWIS, U A PERSON FILING: IJAYLON JOHNSON

ANSWER ORIGINAL PETITION COURT: 187 ATTORNEY: KRUEGER, STEPHANIE MARION PERSON FILING:
WAGNERS CARNIVAL

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Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 8 of 27
Office of Harris County District Clerk - Marilyn Burgess | Case (Cause) Details 2022808... Page 1 of 2

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&) 202280871 - JAYLON JOHNSON vs. HERRERA, GILBERT (Court 157)
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If you are a litigant that is a party of this case and would like access to the restricted documents, please click
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Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 9 of 27

LEWIS LAW GROUP REQUEST FOR ISSUANCE OF SERY[GEgess - visti! av ters County

Envelope No. 71110454
CASE NUMBER: _ 202280871 CURRENT COURT: _ Harris County District Court, By: Chandra Lawson

Fied2HG2622 3:49 PM

Name(s) of Documents to be served: Citation

FILE DATE; _ 12/16/2022 Month/Day/Year

Issue Service to Defendant: | Wagner's Carnival
Address of Service: __ 1240 N Mccampbell St

 

 

City, State & Zip: Aransas Pass, TX 78336-2818
Agent (if applicable) __ Wagner, Jason G
TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)

 

 

[X] Citation [[] Citation by Posting | (_] Citation by Publication [_] Citations Rule 106 Service
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[_] Temporary Restraining Order [| Precept [_] Notice

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[_] Secretary of State Citation ($12.00) [-] Capias (aot by E-Issuance) [_] Attachment (not by E-Issuance)
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([] Commissioner of Insurance ($12.00) [_] Hague Convention ($16.00) | [_] Garnishment

[| Habeas Corpus (not by £-Issuance) C] Injunction [] Sequestration

[_] Subpoena

[_] Other (Please Describe)

(See additional Forms for Post Judgment Service)

 

 

 

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[_] ATTORNEY PICK-UP (phone) 713-570-6555
[ ] MAIL to attorney at: 99 DETERING #104, HOUSTON, TEXAS 77007
[_] CONSTABLE
[_] CERTIFIED MAIL by District Clerk
[_] CIVIL PROCESS SERVER - Authorized Person to Pick-up: Phone:
[|] OTHER, explain

 

 

 

Issuance of Service Requested By: Attorney: U.A. Lewis; Bar # :24076511
Mailing Address: 99 DETERING #104, HOUSTON, TEXAS 77007
Phone Number: 713-370-6355
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RECORDER'S MEMORANDUM
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Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 11 of 27

12/14/2022 1:00 AM
Marilyn Burgess - District Clerk Harris County
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2022-80871 / Court: 157 By: Britany Hal

Filed: 12/13/2022 12:22 AM
Case No.

JAYLON JOHNSON
PLAINTIFF, IN THE DISTRICT COURT OF

VS. JUDICIAL DISTRICT
GILBERT HERRERA,
WAGNER’S CARNIVAL,
ALMEDA MALL, ANTHONY
SCHIMIDT;

DEFENDANTS,

OF HARRIS COUNTY, TEXAS

ALAA LA LAA

PLAINTIFFS ORIGINAL PETITION, REQUEST FOR DISCLOSURES AND
JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

Plaintiff, Jaylon Johnson (“Plaintiff”), files this Original Petition against Defendants,
Gilbert Herrera, Wagner's Carnival, and Almeda Mall,(collectively “Defendants”), and in
support thereof show as follows:

I.BACKGROUND
1. Almeda Mall allowed Wagner Carnival to continue to operate on its premises despite
the knowledge that the Carnival workers have a history of severely injuring others and

causing death.

Wichita couple killed at Sedgwick County
Fair by Wagnor Camival amployoug

 
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 12 of 27

II. DISCOVERY LEVEL

2, Plaintiff requests that this lawsuit be governed by the Discovery Plan Level 2
pursuant to Rule 190.3 of the Texas Rules of Civil Procedure.

III. PARTIES
3. Plaintiff, Jaylon Johnson is an individual residing in the City of Houston, Texas.

4, Defendant, Gilbert [lerrera,1308 Dahlia St Amarillo, ‘IX 79107
3. Defendant, Wagner’s Carnival
6. Defendant, Almeda Mall

7. Anthony Schimidt 2319 Pasadena Blvd Trlr 43 Pasadena, TX 77502

IV. JURISDICTION AND VENUE
8. This Court has personal jurisdiction over Defendants, because this Defendant 1s

engaged in business enterprises and commercial activites in the State of Texas and
committed a tort within the State of Texas and in Harris County, Texas.

9, This Court has personal jurisdiction over Defendants because they are residents
and/or citizen of the State of ‘Texas, and committed a tott withm the State of Texas in Harris
County, Texas,

10, Venue is proper in Harris County under TEX, CIV. PRAC. & REM. CODE
§15.002(a)(1) because Harris County is the county where all or a substantial part of the

events giving rise to the Plaintiffs’ claims occurred.

Vv. CAUSES OF ACTION
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 13 of 27

11, At the time and on the occasion in question, Defendants Gilbert Herrera, Wagner's
Carnival, and Almeda Mall each hada duty to exercise the degree of reasonable care that a
reasonably prudent mall parking lot and carnival owner and security provider would use to
avoid harm to others under circumstances similar to those described herein, and to protect
its patrons.

12, Jaintiffs’ injuries were directly and proximately caused by Wagner’s Carnival, and
Almeda Mall’s negligent, careless, and reckless disregard of said duty. P

13. On the occasion in question, Plaintiffs’ damages were proximately caused by the
negligence, carelessness, recklessness and felony assault by Defendants Gilbert Herrera,
Wagner's Carnival, and Almeda Mall and othr carnival workers in one or more of the
following non-exclusive particulars:

a. In failing to keep patrons safe from being assaulted by Gilbert Herrera,
Wagner's Carnival, and Almeda Mall employees or owners while on the
premises;

b. In failing to use ordinary care to ensure its patrons were safely treated on the
premises by Wagner's Carnival, and Almeda Mall employees;

C. In failing to properly train its employees on safe treatment methods of patrons
in the premises;

d. In failing to use ordinary care to avoid using excessive force to against patrons
in the premises;

e. In failing to use ordinary care in the screening, investigating, hiring, retaining,
and supervising of competent or unfit employees; and

f. In allowing its employees and owner Wagner to knowingly and intentionally
committing aperavated assault.

14. Each and all of the above and foregoing acts, both omission and commission,
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 14 of 27

singularly or in combination with others, constituted negligence which proximately caused.

the occurrence made the basis of this suit, and Plaintiff’s injuries and damages pled herein.

NEGLIGENT SECURITY BY DEFENDANT ALMEDA MALL

Gilbert Herrera, Wagner’s Carnival, and Almeda Mall Defendants made a conscious decision
to either train its employees and owners to violently attack and abuse the customers, or failed
to train its employees and owners to protect its customers by not engaging in violent attacks
and abuse against its customers. Additionally, to the extent either Wagner’s Carnival, and
Almeda Mall alleges there was criminal activity by a third party that may have caused or
contributed to the injuries of plaintiff, Wagner’s Carnival, and Almeda Mall were on notice of
past specific instances of similar criminal conduct sufficient enough to require properly
trained staff to prevent these types of injuries from occurring, Wagner's Carnival, and
Almeda Mall each had knowledge of previous activity at Wagner’s Carnival, and Almeda
Mall. There were similar events that occurred quite often and Wagner’s Carnival noticed of
these events from direct reports. , Wapner’s Carnival, and Almeda Mall each:

1 Failed to monitor security cameras;

2 Failed to maintain security cameras that recorded;

3, Failed to properly respond to disruptive behavior in the carnival;

4 Failed to properly train its bouncers, employees and owners,

5 Failed to prevent its customers from being injured by other patrons, bouncers,
ermployees and owners;
Failed to be attentive; and

7. Tailed to observe ordinary care and prudence under the circumstances.
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 15 of 27

15.  Wagner’s Carnival, and Almeda Malls acts and omissions, taken singularly or in
combination with others, constituted negligence which proximately caused the occurrence

made the basis of this action and caused injury to plaintiff.

42 USC Sec. 1981-RACE DISCRIMINATION, RESPONDEAT SUPERIOR AND
DIRECT NEGLIGENCE AGAINST DEFENDANTS WAGNER’S CARNIVAL,
AND ALMEDA MALL
Plaintiff bring his federal claims against Wagner Carnival under 42 USC 1981 and 1985, as a

private entity who contracts with the government subject to the bounds of the constitution
to refrain from discrimination based on race. Jaylon is an African American and Native
American male who was tortured by the agents and employees of Wagner Carnival, m 2021
because of his perceived African American status. He was met with fists, beating, dragging
and racial slurs before his vehicle were destroyed after he was dragged out of it against his
will by non-African-Americans males working and under the control of Mr. Wagner who was
directing the actions of the other traveling carnival employee attackers. Jaylon was severely
injured mentally and physically as a result of the Wagner Carmival's actions.

16. Additionally, Plaintiff brings his claims pursuant to the doctrine of respondeat
superior, Defendants Wagner’s Carnival, and Almeda Mall are each vicariously liable for the
conduct of its employees, who were acting in the course and scope of their employment for
Defendant Wagner’s Carnival during the occurrence made the basis of this lawsuit and whose
conduct directly and proximately caused Plaintiff’s injuries and damages.

17. Further, Defendants Gilbert Herrera, Wagner's Carnival, and Almeda Mall are also

directly liable for Plaintiff’s injuries and damages, as described herein.
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18, Further, the conduct of Defendants, either individually or through its employees
violates Section 2202 of the Texas Penal Code because they caused serious bodily injury to
the plaintiff, as well as the commission of an assault.

19, Wagner's Carnival, and Almeda Mall’s acts and/or omissions set forth above
constitute gross negligence under §41.001(11} of TEX. CIV. PRAC & REM. CODE
because, when viewed objectively from the standpoint of the Defendants at the time of its
occurrence, each act and/or omission involved an extreme degree of risk, considering the
probability and magnitude of the potential harm to others; and the Defendants had actual,
subjective awareness of the nisk mvolved, but nevertheless proceeded with conscious
indifference to the rights, safety, or welfare of others. Gilbert Herrera, Wapner’s Carnival, and
Almeda Mall's gross negligence was a proximate cause of the incident that made the basis of
this lawsuit.

20. Failure to train or supervise Gilbert Herrera, and respondent superior responsibility.
21. Defendants Wagner’s Carnival, and Almeda Mall. failed to train ot supervise their
security officer John Doe, as a result of their failures Mr. Morris was injured.

22. Anthony Schimidt negligently hired Wagner Carnival workers and failed to train or
discipline the Wagner Carnival workers who attacked and unlawfully take property from

Plaintiff.

ASSAULT AND BATTERY
23.  Guilbert Herrera, and Wagner’s Carnival, and Almeda Mall’s employees committed

battery against the plaintiff causing him severe injuries and damages to his property.
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DAMAGES
24, As a result of the injuries creating the basis of this lawsuit described in the preceding

paragraphs and the Defendants’ negligence, Plaintiff sustained significant injuries and
damages in the past and will reasonably sustain these damages in the future. Plaintiff
respectfully requests that the trier of fact determine the amount of their damages and losses
that they have incurred in the past and will reasonably incur in the future, as well as the
monetary value of these damages, which include, but are not limited to:

a, Physical pain and mental anguish;

b. Loss of earning capacity and Lost wages;

c. Emotional distress;

d. Disfigurement;

c. Medical care expenses
f, Out-of- pocket economic losses
25, The damages sought herein are within the jurisdictional limits of the court. Plaintiff

seeks monetary relief over $250,000.00 but not more than $5,000.00.00,

TEXAS PENAL CODE §31.03-THEFT.
26. Wagner Carnival, its employces, and Gilbert Herrcra unlawfully appropriates
plaintiff’s property with the intent to deprive him without his consent his property was

stolen.
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 18 of 27

27. The defendants are further liable for the theft and destruction of the Plaintiff’s
person property. Plaintiff is entitled to attorney fees and costs for the theft claim against

defendants.

Vii. JURY DEMAND
28. Pursuant to Texas Rule of Civil Procedure 216, Plaintiff respectfully requests and
demands a trial by jury

IX. PRAYER
29. _—- Plaintiff prays that they have a judgment against Defendant, for actual damages

shown and proven at trial, for prejudgment and post-judgment interest, for costs of court,

and for all other relief, legal and equitable, to which she is entitled.

Respectfully submitted,

By: /s/U.A. Lewis

Lewis Lewis Law Group

UA. Lewis

Texas Bar No. 24076511

PO BOX 27353 Houston, TX 77227
T(713) 570-6555

F (713) 581-1017

Attorney for Plaintiff
myattorneyatlaw@gmail.com
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 19 of 27

2/13/2023 9:29 AM

Marilyn Burgess - District Clerk Harris County
Envelope No, 72685767

By: Angelica Rodriguez

Filed: 2/13/2023 9:29 AM

CAUSE NO. 2022-80871

JAYLON JOHNSON § IN THE DISTRICT COURT OF
Plaintiff, §
§
v. § HARRIS COUNTY, TEXAS
§
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT, § 1577 JUDICIAL DISTRICT
Defendants.

 

DEFENDANT WAGNER’S CARNIVAL’S ORIGINAL ANSWER AND JURY DEMAND

 

 

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Defendant, Wagner’s Camival (“Defendant”), in the above styled and
numbered cause, and files this Original Answer and Jury Demand and would respectfully show
the Court as follows:

I. GENERAL DENIAL

1.1 Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant denies each
and every, all and singular, allegations contained in Plaintiff’s Original Petition, and demands strict
proof by a preponderance of credible evidence in accordance with the laws of the State of Texas.

Il. ADDITIONAL DEFENSES

2,1. For further answer, if such be necessary, Defendant asserts the provisions of
Chapter 33 of the Texas Civil Practice & Remedies Code.

2.2 Defendant asserts the sole proximate cause, or a proximate cause of the damages
allegedly sustained was an unforeseeable intervening act over which Defendant had no control

over,

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08369,694
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 20 of 27

2.3. Defendant alleges Plaintiff's claims for damages may be barred in whole or in part,
whether under the doctrines of comparative responsibility or failure to mitigate damages, by the
acts or omissions of Plaintiff.

2.4 Defendant is entitled to all caps and limitations on damages pursuant to the Texas
Civil Practices & Remedies Code.

2.5 Defendant asserts the damages allegedly sustained by Plaintiff were the result of
pre-existing conditions unrelated to Plaintiff's allegations against Defendant.

2.6 Defendant requests an offset and credit for payments made to Plaintiff by third
parties, as well as for any other form of compensation received.

Ill. JuRY DEMAND
3.1 Defendant hereby makes a demand for trial by jury and tenders the appropriate fee.
V. PRAYER

4.1 Defendant prays Plaintiff take nothing by this suit, that Defendant has judgment for
respective costs in this proceeding, and that the Court grant Defendant all such other relief, both
general or special, in law or in equity, to which they may be justly entitled.

Respectfully submitted,

THOMPSON, COE, COUSINS & IRONS,
L.L.P.

By:__/s/ Stephanie M. Krueger
STEPHANIE M, KRUEGER
State Bar No. 24078581
SKrueger@thompsoncoe.com
ESSAY EDEN
State Bar No. 24120248
EEden@thompsoncoe.com
One Riverway, Suite 1400
Houston, Texas 77056
(713) 403-8210; Fax: (713) 403-8299
E-serve: skrueger@thompsoncoe.com

2

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08369.694
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 21 of 27

CERTIFICATE OF SERVICE

THIS IS TO CERTIFY that a true and correct copy of the foregoing document has been
sent to all known counsel of record pursuant to the Texas Rules of Civil Procedure on February
13, 2023.

/s/ Stephanie M. Krueger
STEPHANIE M. KRUEGER

 

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08369.694
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 22 of 27

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Jamie Miller on behalf of Farrah Ahmed
Bar No. 24071934
JaMiller@thompsoncoe.com

Envelope [D: 72685767

Status as of 2/13/2023 10:07 AM CST

Case Contacts

 

 

 

 

Name’ BarNumber | Email TiméstampSubmitted | Status
U.A. Lewis office @thelewislaw.com 2/13/2023 9:29:21 AM | SENT
Stephanie M.Krueger SKrueger@thompsoncoe.com | 2/13/2023 9:29:21 AM | SENT
Essay Eden eeden@thompsoncoe.com 2/13/2023 9:29:21 AM | ERROR

 

 

 

 

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
JAYLON JOHNSON §
Plaintiff, §
§
v. § CIVIL ACTION NO.
§ (JURY TRIAL)
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT §
Defendants. §

DEFENDANTS?’ EXHIBIT 3:
LIST OF ALL PARTIES

JAYLON JOHNSON,
Plaintiff

GILBERT HERRERA
Defendant

WAGNER’S CARNIVAL
Defendant

ANTHONY SCHIMIDT
Defendant

ALMEDA MALL
Defendant ‘
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 24 of 27

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

 

HOUSTON DIVISION
JAYLON JOHNSON §
Plaintiff, §
§
Vv. § CIVIL ACTION NO.
§ (JURY TRIAL)
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT §
Defendants. §
DEFENDANTS’ EXHIBIT 4
LIST OF ALL ATTORNEYS

 

COMES NOW, Defendant WAGNER’S CARNIVAL, and files the above-referenced
Exhibit 4 to their Notice of Removal, in order to provide the Court with the required list of all
attorneys:

THOMPSON, COE, COUSINS & IRONS, L.L.P.-
STEPHANIE KRUEGER

State Bar No. 24078581
SKrueger@thompsoncoe.com

ESSAY EDEN

State Bar No. 24120248
EEden@thompsoncoe.com

One Riverway, Suite 1400

Houston, Texas 77056

Tel.; (713) 403-8210

Fax: (713) 403-8299

ATTORNEYS FOR DEFENDANT WAGNER’S CARNIVAL

FEE, SMITH & SHARP, LLP
Brian G, Cano

State Bar No. 24045613
bcano@feesmith.com

Alvin D. Houston

State Bar No. 24041134
ahouston@feesmith.com

2777 Allen Parkway, Suite 800
Houston, Texas 77019

Ph: (713) 362-8300
Case 4:23-cv-00638 Document 1-1 Filed on 02/21/23 in TXSD Page 25 of 27

Fax: (713) 362-8302
Attorney for Defendant Almeda Mall

Lewis Lewis Law Group

U.A. Lewis

State Bar No. 24076511

P.O. Box 27353

Houston, Texas 77227

Ph: (713) 570-6555

Fax: (713) 581-1017

Email: myattomeyatlaw@gmail.com
Attorney for Plaintiff Jaylon Johnson
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
JAYLON JOHNSON §
Plaintiff, §
§
v. § CIVIL ACTION NO.
§ (JURY TRIAL)
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT §
Defendants. §
DEFENDANTS’ EXHIBIT 5
JURY TRIAL REQUEST

 

COMES NOW, Defendants WAGNER’S CARNIVAL, and files the above-referenced
Exhibit 5 to their Notice of Removal, and respectfully request a jury trial in the above-referenced
matter. Defendant further tenders payment for the requested jury trial contemporaneously with

the filing of Defendants’ Notice of Removal and Exhibit 5.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

HOUSTON DIVISION
JAYLON JOHNSON §
Plaintiff, §
§
v. § CIVIL ACTION NO.
§ (JURY TRIAL)
GILBERT HERRERA, WAGNER’S §
CARNIVAL, ALMEDA MALL, §
ANTHONY SCHIMIDT §
Defendants. §
DEFENDANTS’ EXHIBIT 6

STATE COURT NAME AND ADDRESS

 

 

 

COMES NOW, Defendant WAGNER’S CARNIVAL, and files the above-referenced
Exhibit 6 to their Notice of Removal, in order to provide this Honorable Court with the previous

District Court’s contact information:

Honorable Judge Tanya Garrison

157" Judicial District Court of Harris County, Texas
201 Caroline Street, 14" Floor

Houston, Texas 77002

Tel.: (832) 927-2400
